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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


 CHRISTA KATSENES                               )
                                                )
                        Plaintiff,              )
                                                )
 v.                                             )   Civil Action No.: 1:19-cv-12112-DJC
                                                )
 U.S. BANK TRUST, N.A., AS                      )
 TRUSTEE FOR LSF9 MASTER                        )
 PARTICIPATION TRUST                            )
                                                )
                        Defendant.              )
                                                )

          MOTION TO QUASH DEPOSITION SUBPOENAS AND/OR ISSUE A
                          PROTECTIVE ORDER

       Pursuant to Federal Rules of Civil Procedure 26(c) and 45(d)(3), Defendant/

Counterclaim Plaintiff U.S. Bank Trust, N.A., as Trustee for LSF9 Master Participation Trust

(“U.S. Bank”) hereby submits its Motion to Quash Subpoenas and/or Issue a Protective Order

prohibiting the Plaintiff from enforcing four (4) Notices of Taking Depositions and deposition

subpoenas served by Plaintiff/ Counterclaim Defendant Christa Katsenes (“Plaintiff”) on (1) U.S.

Bank’s counsel of record, Reneau Longoria (2) WFG National Title Insurance Company, Inc.

and (3) Vylla Title, LLC, f/k/a Carrington Title Services, LLC and (4) LSF9 Mortgage Holdings

LLC. The Deposition Subpoenas exceed the scope of discovery, elicit privileged testimony, and

have noticed topics which are wholly irrelevant to the instant litigation. In further support of this

Motion, U.S. Bank relies upon its Memorandum of Law in Support of Motion to Quash

Deposition Subpoenas and/or Issue a Protective Order, filed herewith.
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       WHEREFORE, Defendant U.S. Bank requests that this Court quash the Deposition

Subpoenas in their entirety and/or issue a protective order, as outlined in the accompanying

Memorandum of Law filed herewith.



Respectfully submitted,

                                             U.S. BANK TRUST, N.A. AS TRUSTEE
                                             FOR LSF9 MASTER PARTICIPATION
                                             TRUST,

                                             DEFENDANT/COUNTERCLAIM PLAINTIFF,

                                             By its attorneys,


                                             /s/ Julianna M. Charpentier
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Dated: January 21, 2022




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                          LOCAL RULE 7.1.(A)(2) CERTIFICATE

       I, Julianna Charpentier, Counsel for U.S. Bank Trust, N.A. as Trustee for LSF9 Master

Participation Trust, hereby certify pursuant to Local Rule 7.1(A)(2) that on January 21, 2022 I

have conferred with counsel for Christa Katsenes by phone regarding the matters set forth herein.

The parties were unable to reach an agreement as to the issues contained herein.



                                                         /s/Julianna M. Charpentier
                                                        Julianna M. Charpentier


                                 CERTIFICATE OF SERVICE

       I, Julianna M. Charpentier, certify that this document filed through the ECF system will

be sent to the registered participants as identified on the Notice of Electronic Filing (NEF) and

paper copies will be sent to those indicated as non-registered participants on January 21, 2022.



                                                         /s/Julianna M. Charpentier
                                                        Julianna M. Charpentier




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